
7 N.Y.2d 859 (1959)
In the Matter of 5 East 71st Street, Inc., Appellant,
v.
William E. Boyland, et al., Constituting the Tax Commission of the City of New York, Respondents.
Court of Appeals of the State of New York.
Argued October 19, 1959.
Decided December 30, 1959.
Stephen W. Hanley and Aaron H. Shaffer for appellant.
Charles H. Tenney, Corporation Counsel (Morris Einhorn and Morris Handel of counsel), for respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, without costs. In so deciding, we do not find that the Official Referee erred in refusing to give weight to the 1948 sale to the co-operative corporation or to the separate *861 sales to its tenant purchasers. It is sufficient to say that evidence of the original cost of the land and building in 1946 plus evidence of the sharp increase in values since that time are enough to sustain the assessed valuations. No opinion.
